

Matter of Attorneys in Violation of Judiciary Law § 468-a (Lee) (2023 NY Slip Op 02051)





Matter of Attorneys in Violation of Judiciary Law § 468-a (Lee)


2023 NY Slip Op 02051


Decided on April 20, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:April 20, 2023

PM-84-23
[*1]In the Matter of Attorneys in Violation of Judiciary Law § 468-a. Attorney Grievance Committee for the Third Judicial Department, Petitioner; Chen-Hai Joseph Lee, Respondent. (Attorney Registration No. 4224044.)

Calendar Date:January 23, 2023

Before:

Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.
Tesser, Ryan &amp; Rochman, LLP, White Plains (Randall Tesser of counsel), for respondent.



Motion by respondent for an order reinstating him to the practice of law following his suspension by May 2019 order of this Court (Matter of Attorneys in Violation of Judiciary Law § 468-a, 172 AD3d 1706, 1736 [3d Dept 2019]; see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.16; Rules of App Div, 3d Dept [22 NYCRR] § 806.16).
Upon reading respondent's notice of motion and affidavit with exhibits sworn to December 9, 2022 and the January 19, 2023 correspondence from the Attorney Grievance Committee for the Third Judicial Department, and having determined, by clear and convincing evidence, that (1) respondent has complied with the order of suspension and the rules of this Court, (2) respondent has the requisite character and fitness to practice law, and (3) it would be in the public interest to reinstate respondent to the practice of law (see Matter of Attorneys in Violation of Judiciary Law § 468-a [Wang], 199 AD3d 1163, 1165 [3d Dept 2021]), it is,
ORDERED that respondent's motion for reinstatement is granted; and it is further
ORDERED that respondent is reinstated as an attorney and counselor-at-law, effective immediately.
Garry, P.J., Lynch, Aarons, Reynolds Fitzgerald and Fisher, JJ., concur.








